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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 IN RE PHARMACEUTICAL INDUSTRY                              Master Civil No. 01-cv-12257
 AVERAGE WHOLESALE PRICE
 LITIGATION                                                 MDL No. 1456

 THIS DOCUMENT RELATES TO:                                  Judge Patti B. Saris
 TRACK TWO SETTLEMENT



        ORDER FOR FINAL CONSIDERATION OF TRACK TWO SETTLEMENT

                                      NOVEMBER ___, 2010

 Saris, U.S.D.J.



        This Court has heard from counsel at hearings on the status of the Class 1, 2 and 3

aspects of the proposed Settlement with the Track Two Defendants (the “Track Two Settlement”).

This Court also received, during a hearing on the BMS Settlement on November 19, 2010, the

sworn testimony of Cindy Weigel, an employee of Buccaneer, a Vangent Company

(“Buccaneer”), and the vendor working with CMS to produce data to effectuate notice to Class 1,

which data includes information about potential members of Class 1 in this potential settlement.

The Track Two Settlement was first proposed quite some time ago. The participants must proceed

with dispatch. This Court has jurisdiction over the parties, the parties’ counsel, the data vendor

and the Claims Administrator. Accordingly, this Court ORDERS the following:

        1. Data Production. This Court hereby orders that the Centers for Medicare and

Medicaid Services (“CMS”) and its vendors, the Research Data Assistance Center (“RESDAC”)

and Buccaneer, shall, no later than December 15, 2010, produce to the Claims Administrator

electronic data sufficient to identify all transaction information for individuals for whom CMS
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reimbursed any of the specific drugs involved in the Settlements, as identified in a separate list of

356 J Codes or HCPCS. These HCPCS should be run against the Outpatient SAF, Carrier SAF

and DME SAF files for all beneficiaries that had any one of the submitted HCPCS, outputting

only the claims with the submitted HCPCS. These should also be run against the Vital Status file

with names and addresses (alive and dead). The exact data to be provided is further identified in

the letter from Buccaneer to Class Counsel dated November 1, 2010.

         2. Class Counsel To Assist. This Court hereby orders that Class Counsel shall take all

 reasonable steps necessary to ensure that the necessary data is transferred to the Claims

 Administrator by December 15, 2010.

         3. If the data mentioned above is not produced by December 15, 2010, the Court intends

 to hold a hearing to determine if CMS, RESDAC, Buccaneer and/or Class Counsel are in

 contempt of this Order.

         4. Further Schedule. This Court hereby further orders Plaintiffs and Class Counsel, the

Claims Administrator, the Track 2 Defendants and their counsel to exercise all reasonable efforts

to complete the Track Two Settlement approval process on the following schedule:


     December 31, 2010            Class Counsel To File A Status Report Regarding Planned
                                  Notice and Notice Expenses In Connection with the
                                  Proposed Mailing to Potential Class One Members


     January 31, 2011             Direct Mail Notice to Potential Track Two Class One
                                  Members To Be Sent (Unless Otherwise Ordered By the
                                  Court In Light of the December 31 Report)


     February 28, 2011            Class Plaintiffs file Motion for Attorney Fees and Expenses




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     February 28, 2011              Deadline for Class Member to Return Initial Notice Cards


     March 28, 2011                 Deadline for Objections, Exclusions and Filing of Claims


     April 8, 2011                  Class Counsel Files Final Approval Papers and
                                    Recommendations on Use of Any Excess Settlement Funds
                                    (the Court may thereafter issue, prior to the final approval
                                    hearing date, an order to show cause why a particular use of
                                    excess funds is not appropriate)




        5. Final Approval Hearing. The Final Approval Hearing for the Track Two Settlement

will be held on April __, 2011 at 2:00 P.M. in Courtroom 22. A postponement will only be

granting sparingly, and only after (i) a showing of good cause measured by the protracted nature

of these proceedings and (ii) with sufficient notice to the Court in advance of the hearing date.

        6. Status Reports. Class Counsel shall file with the Court monthly status reports

detailing the progress of the Track Two Settlement. These reports shall include a statement about

whether the deadlines in paragraph 4 of this Order have been complied with and whether there is a

substantial chance that future deadlines will not be met. The first such report shall be filed on

December 17, 2010. Subsequent reports shall be filed on the first day of each month.

        7. Service. Class Counsel shall serve copies of this Order on the Claims Administrator,

 CMS, RESDAC and Buccaneer. Class Counsel shall thereafter promptly file with the Court a

 notice of completion of service.



                                                               ___________________________
                                                               Patti B. Saris
                                                               United States District Judge



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